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                               Exhibit F
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                                    UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF NEW YORK
                                             (BROOKLYN)

    IN RE: EXACTECH POLYETHYLENE                                  MDL No. 3044 (NGG) (MMH)
    ORTHOPEDIC PRODUCTS LIABILITY
    LITIGATION                                                    Case No.: 1:22-md-03044-NGG-MMH

                                                                  District Judge Nicholas G. Garaufis
                                                                  Magistrate Judge Marcia M. Henry
   ____________________________/
   THIS DOCUMENT RELATES TO:
   Mildred Drake
   Case No.: 1:23-cv-00796-NGG-MMH


   ______________________________________

                     SHORT FORM COMPLAINT AND DEMAND FOR JURY TRIAL
                Plaintiff(s) files this Short Form Complaint and Demand for Jury Trial against the

   Defendants named below. Plaintiff(s) incorporates by reference the allegations, Causes of Action,

   and requested relief contained in the Amended Master Personal Injury Complaint filed in In

   re: Exactech Polyethylene Orthopedic Products Liability Litigation, MDL No. 3044, Case No.

   1:22-md-03044 (“Amended Master Personal Injury Complaint” or “AMPIC”). 1

                Plaintiff(s) further alleges as follows:

   I.           IDENTIFICATION OF PARTIES

                A.      PLAINTIFF(S)

        1.     Injured Plaintiff(s): Name of the individual(s) implanted with and injured by an Exactech
               Device.
             Mildred Drake


             ___________________________________________________________________________
             (“Plaintiff (s) ”)
   1 Plaintiff may assert additional causes of action and/or name Defendants not otherwise set forth in the Amended
                                                                                                                  Master
   Personal Injury Complaint. If additional causes of action are asserted and/or new Defendants named, the specific facts
   supporting any such additional cause of action or the naming of such additional Defendants must be pled in a
   manner complying with the Federal Rules of Civil Procedure. Additional pages may be attached to this Short Form
   Complaint, if necessary.




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   2. At the time of the filing of this Short Form Complaint, Plaintiff resides in the following state:


      ____________
        PA
   3. Consortium Plaintiff(s): Name of the individual(s) that alleges damages for loss of consortium:


        NIA


      __________________________________________________________________________
      (“Consortium Plaintiff”)


   4. Survival and/or Wrongful Death Claims:
             a. Representative Plaintiff: Name of the individual filing this matter and their
                 representative capacity (i.e. administrator or executor of estate):

                 NIA

               ____________________________________________________________________
               (“Representative Plaintiff”)

               b. Name and state of residence of Decedent Plaintiff when he/or she died as a result
                  of an Exactech Device related injury:

               ____________________________________________________________________
                  NIA

               c. Decedent Plaintiff died on the following date:

               _________________________

          B.      DEFENDANTS
   BEFORE PROCEEDING – PLEASE CAREFULLY READ AND CONSIDER THE PLACES
   OF INCORPORATION, PRINCIPAL PLACE OF BUSINESS, AND/OR CITIZENSHIP OF
   EACH DEFENDANT BEFORE SELECTING TO ENSURE THAT YOU ARE NOT NAMING
   ANY DEFENDANTS FROM THE SAME STATE AS ANY PLAINTIFF. THE PLACE OF
   INCORPORATION, PRINCIPAL PLACE OF BUSINESS, OR RESIDENCE OF EACH
   DEFENDANT IS IN THE FOOTNOTES FOR YOUR CONVENIENCE
   5. Plaintiff(s) names the following Defendants in this action:




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   Exactech Defendants
               [l]    Exactech, Inc. 2
               [l]    Exactech U.S., Inc. 3
   TPG Defendants
   NOTE: Pursuant to Practice and Procedure Order No. 4 (Direct Filing Order as to TPG
   Entity Defendants), these entities may only be named as a defendant in an action DIRECTLY
   FILED in this Court -- as opposed to an action filed in another court and transferred to this
   Court via the MDL statute, 28 U.S.C. § 1407 -- if implantation of a device(s) identified in
   paragraphs 8, 15, 22 or 29 below occurred on or after February 14, 2018 (i.e., the date
   identified in response to paragraphs 10, 17, 24, 31 below); otherwise, identifying one or more
   of the TPG Defendants below will be of no effect and it/they will NOT be a defendant in the
   action.
               [l]    TPG Inc. 4
               [l]    Osteon Holdings, Inc. 5
               [l]    Osteon Merger Sub, Inc. 6
               [l]    Osteon Intermediate Holdings II, Inc. 7
   Other Defendant(s) (provide name and state(s) of citizenship for each new Defendant)




   _________________________________________________________________                                                _        __



   2 Florida corporation, with its principal place of business in Gainesville, Florida, and a citizen of Florida.
   3 Florida corporation, with its principal place of business in Gainesville, Florida, and a citizen of Florida.
   4 Delaware corporation, with its principal place of business in Fort Worth, Texas, and a citizen of Delaware and Texas.
   5 Delaware corporation, with its principal place of business in Delaware, and a citizen of Delaware.
   6 Texas corporation, with its principal place of business in Florida, and a citizen of Texas and Florida.
   7 Delaware corporation, with its principal place of business in Delaware, and a citizen of Delaware.




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   II.        JURISDICTION

   6. The Court has jurisdiction over this matter pursuant to:
                       Diversity of Citizenship
                       Other (any additional basis for jurisdiction must be pled in sufficient detail below
                       or on appended pages as required by the applicable Federal Rules of Civil
                       Procedure):




                       __________________________________________________________________
   III.       VENUE / DESIGNATED FORUM

   7. Identify the Federal District Court in which the Plaintiff would have filed in the absence of
      direct filing:
          U.S District Court for the Eastern District of Pennsylvania

          __________________________________________________________________                            __
   IV.       PLAINTIFF’S EXACTECH DEVICE AND INJURIES


   Exactech Device 1:
   (NOTE: Answer the following questions for only one Exactech Device.)
   8. Plaintiff was implanted with the following Exactech Device:
    Exactech Hip Devices                                           Exactech Knee Devices

                □       Connexion GXL                                     [l]   Optetrak

                □       Novation GXL
                                                                          □ Optetrak Logic
                □       AcuMatch GXL
                                                                          □ Truliant
                □       MCS GXL
                                                                   Exactech Ankle Device

                                                                          □ Vantage

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   9. Leg in which the Exactech Device was Implanted:

            □ Right
            [Z] Left
   10. Date the Exactech Device was implanted (see also note to paragraph 5 above):

      _______________________
      Mar      7     2018

   11. State in which the Exactech Device was implanted:

      ____________
      PA

   12. Date the Exactech Device was surgically removed/revised:
      _______________________
      Feb      2     2021


   13. Plaintiff has suffered the following injuries and complications as a result of this Exactech
       Device:
      Plaintiffs Optetrak TKA System failed and required an additional surgery to remove the implant and replace it
      with another joint replacement system.

      - Because she required an additional revision surgery, Plaintiff has suffered significant and continuing personal
      injuries, is limited in his activities of daily living, requires additional physical therapy, and has incurred
      substantial medical bills and expenses.

      - As a direct, proximate and legal consequence of the defective nature of the Optetrak TKA System, Plaintiff
      has suffered and continues to suffer significant, permanent, and continuing personal injuries.




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   14. Is Plaintiff asserting claims regarding injuries suffered prior to February 14, 2018 against the
       TPG Defendants?

      Yes □ No       [{]
   Exactech Device 2:
   (NOTE: Answer the following questions for only one Exactech Device.)
   15. Plaintiff was implanted with the following Exactech Device:
    Exactech Hip Devices                                Exactech Knee Devices

             □ Connexion GXL                                    □ Optetrak
             □ Novation GXL                                     D Optetrak Logic
             □ AcuMatch GXL                                     □ Truliant
             □ MCS GXL                                  Exactech Ankle Device

                                                                □ Vantage
   16. Leg in which the Exactech Device was Implanted:

             □   Right

             □ Left
   17. Date the Exactech Device was implanted (see also note to paragraph 5 above):

      _______________________

   18. State in which the Exactech Device was implanted:
      ____________

   19. Date the Exactech Device was surgically removed/revised:

      _______________________




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   20. Plaintiff has suffered the following injuries and complications as a result of this Exactech
       Device:




      ________________________________________________________________________


   21. Is Plaintiff asserting claims regarding injuries suffered prior to February 14, 2018 against the
       TPG Defendants?

      Yes
            □ No □




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   Exactech Device 3:
   (NOTE: Answer the following questions for only one Exactech Device.)
   22. Plaintiff was implanted with the following Exactech Device:
    Exactech Hip Devices                              Exactech Knee Devices

             □ Connexion GXL                                  □ Optetrak
             □ Novation GXL                                   □ Optetrak Logic
             □ AcuMatch GXL                                   □ Truliant
             □ MCS GXL                                Exactech Ankle Device

                                                              □ Vantage
   23. Leg in which the Exactech Device was Implanted:

             □   Right

             □ Left
   24. Date the Exactech Device was implanted (see also note to paragraph 5 above):


      _______________________
   25. State in which the Exactech Device was implanted:
      ____________
   26. Date the Exactech Device was surgically removed/revised:


      _______________________




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  27. Plaintiff has suffered the following injuries and complications as a result of this Exactech
      Device:




     ___________________________________________________________________________

  28. Is Plaintiff asserting claims regarding injuries suffered prior to February 14, 2018 against the
      TPG Defendants?

     Yes
           □ No □




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   Exactech Device 4:
   (NOTE: Answer the following questions for only one Exactech Device.)
   29. Plaintiff was implanted with the following Exactech Device:
    Exactech Hip Devices                              Exactech Knee Devices

             □ Connexion GXL                                  □ Optetrak
             □ Novation GXL                                   □ Optetrak Logic
             □ AcuMatch GXL                                   □ Truliant
             □ MCS GXL                                Exactech Ankle Device

                                                              □ Vantage
   30. Leg in which the Exactech Device was Implanted:
                 Right
             □
             □ Left
   31. Date the Exactech Device was implanted (see also note to paragraph 5 above):


      _______________________
   32. State in which the Exactech Device was implanted:
      ____________
   33. Date the Exactech Device was surgically removed/revised:

      _______________________




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   34. Plaintiff has suffered the following injuries and complications as a result of this Exactech
       Device:




      ___________________________________________________________________________

   35. Is Plaintiff asserting claims regarding injuries suffered prior to February 14, 2018 against the
      TPG Defendants?

      Yes   D No D
   NOTE: If Plaintiff(s) alleges injuries related to additional Exactech Devices not already
   identified in this Short Form Complaint, please complete questions 29-35 separately for
   each additional Exactech Device and attach to this Short Form Complaint.




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   V.     CAUSES OF ACTION

   36. As to Exactech, Inc., Plaintiff(s) adopts the following Causes of Action asserted in the
       Amended Master Personal Injury Complaint and the allegations and Prayer for Relief with
       regard thereto, as set forth therein:

           [l]   First Cause of Action: Strict Liability – Manufacturing Defect
           [l]   Second Cause of Action: Strict Liability – Design Defect
           [l]   Third Cause of Action: Strict Liability – Defect Due to Inadequate Warnings or
                 Instructions
           [l]   Fourth Cause of Action: Negligence
           [l]   Fifth Cause of Action: Breach of Express Warranty
           [l]   Sixth Cause of Action: Breach of Implied Warranty
           [l]   Seventh Cause of Action: Negligent Misrepresentation
           [l]   Eighth Cause of Action: Fraud
           [l]   Ninth Cause of Action: Fraudulent Concealment
           [l]   Tenth Cause of Action: Punitive Damages

           □ Eleventh Cause of Action: Loss of Consortium
           □ Other: Plaintiff(s) may assert additional theories and/or Causes of Action. If
                 Plaintiff(s) includes additional theories and/or Causes of Action, the specific facts
                 and allegations supporting additional theories and/or Causes of Action must
                 be pleaded by Plaintiff in sufficient detail as required by the Federal Rules of
                 Civil Procedure. Attach additional pages to this Short Form Complaint, if
                 necessary.




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   37. As to Exactech U.S., Inc., Plaintiff(s) adopts the following Causes of Action asserted in the
       Amended Master Personal Injury Complaint and the allegations and Prayer for Relief with
       regard thereto, as set forth therein:

           [Z]   First Cause of Action: Strict Liability – Manufacturing Defect
           [Z]   Second Cause of Action: Strict Liability – Design Defect
           [Z]   Third Cause of Action: Strict Liability – Defect Due to Inadequate Warnings or
                 Instructions
           [Z]   Fourth Cause of Action: Negligence
           [Z]   Fifth Cause of Action: Breach of Express Warranty
           [Z]   Sixth Cause of Action: Breach of Implied Warranty
           [Z]   Seventh Cause of Action: Negligent Misrepresentation
           [Z]   Eighth Cause of Action: Fraud
           [Z]   Ninth Cause of Action: Fraudulent Concealment
           [Z]   Tenth Cause of Action: Punitive Damages

           □ Eleventh Cause of Action: Loss of Consortium
           □ Other: Plaintiff(s) may assert additional theories and/or Causes of Action.
                 If Plaintiff(s) includes additional theories and/or Causes of Action, the specific
                 facts and allegations supporting additional theories and/or Causes of Action
                 must be pleaded by Plaintiff in sufficient detail as required by the Federal
                 Rules of Civil Procedure. Attach additional pages to this Short Form Complaint,
                 if necessary.




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   38. As to TPG, Inc. Plaintiff(s) adopts the following Causes of Action asserted in the Amended
       Master Personal Injury Complaint and the allegations and Prayer for Relief with regard thereto,
       as set forth therein:

            [Z]   First Cause of Action: Strict Liability – Manufacturing Defect
            [Z]   Second Cause of Action: Strict Liability – Design Defect
            [Z]   Third Cause of Action: Strict Liability – Defect Due to Inadequate Warnings or
                  Instructions
            [Z]   Fourth Cause of Action: Negligence
            [Z]   Fifth Cause of Action: Breach of Express Warranty
            [Z]   Sixth Cause of Action: Breach of Implied Warranty
            [Z]   Seventh Cause of Action: Negligent Misrepresentation
            [Z]   Eighth Cause of Action: Fraud
            [Z]   Ninth Cause of Action: Fraudulent Concealment
            [Z]   Tenth Cause of Action: Punitive Damages

            □ Eleventh Cause of Action: Loss of Consortium
            □ Other: Plaintiff(s) may assert additional theories and/or Causes of Action.
                  If Plaintiff(s) includes additional theories and/or Causes of Action, the specific
                  facts and allegations supporting additional theories and/or Causes of Action
                  must be pleaded by Plaintiff in sufficient detail as required by the Federal
                  Rules of Civil Procedure. Attach additional pages to this Short Form Complaint,
                  if necessary.




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   39. As to Osteon Holdings, Inc., Plaintiff(s) adopts the following Causes of Action asserted in the
       Amended Master Personal Injury Complaint and the allegations and Prayer for Relief with
       regard thereto, as set forth therein:

            [Z]   First Cause of Action: Strict Liability – Manufacturing Defect
            [Z]   Second Cause of Action: Strict Liability – Design Defect
            [Z]   Third Cause of Action: Strict Liability – Defect Due to Inadequate Warnings or
                  Instructions
            [Z]   Fourth Cause of Action: Negligence
            [Z]   Fifth Cause of Action: Breach of Express Warranty
            [Z]   Sixth Cause of Action: Breach of Implied Warranty
            [Z]   Seventh Cause of Action: Negligent Misrepresentation
            [Z]   Eighth Cause of Action: Fraud
            [Z]   Ninth Cause of Action: Fraudulent Concealment
            [Z]   Tenth Cause of Action: Punitive Damages

            □ Eleventh Cause of Action: Loss of Consortium
            □ Other: Plaintiff(s) may assert additional theories and/or Causes of Action. If
                  Plaintiff(s) includes additional theories and/or Causes of Action, the specific facts
                  and allegations supporting additional theories and/or Causes of Action must
                  be pleaded by Plaintiff in sufficient detail as required by the Federal Rules of
                  Civil Procedure. Attach additional pages to this Short Form Complaint, if
                  necessary.




                  __________________________________________________________________

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   40. As to Osteon Merger Sub, Inc., Plaintiff(s) adopts the following Causes of Action asserted in
       the Amended Master Personal Injury Complaint and the allegations and Prayer for Relief with
       regard thereto, as set forth therein:

           [Z]   First Cause of Action: Strict Liability – Manufacturing Defect
           [Z]   Second Cause of Action: Strict Liability – Design Defect
           [Z]   Third Cause of Action: Strict Liability – Defect Due to Inadequate Warnings or
                 Instructions
           [Z]   Fourth Cause of Action: Negligence
           [Z]   Fifth Cause of Action: Breach of Express Warranty
           [Z]   Sixth Cause of Action: Breach of Implied Warranty
           [Z]   Seventh Cause of Action: Negligent Misrepresentation
           [Z]   Eighth Cause of Action: Fraud
           [Z]   Ninth Cause of Action: Fraudulent Concealment
           [Z]   Tenth Cause of Action: Punitive Damages

           □ Eleventh Cause of Action: Loss of Consortium
           □ Other: Plaintiff(s) may assert additional theories and/or Causes of Action.
                 If Plaintiff(s) includes additional theories and/or Causes of Action, the specific
                 facts and allegations supporting additional theories and/or Causes of Action
                 must be pleaded by Plaintiff in sufficient detail as required by the Federal
                 Rules of Civil Procedure. Attach additional pages to this Short Form Complaint,
                 if necessary.




                 __________________________________________________________________

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   41. As to Osteon Intermediate Holdings II, Inc., Plaintiff(s) adopts the following Causes of Action
       asserted in the Amended Master Personal Injury Complaint and the allegations and Prayer for
       Relief with regard thereto, as set forth therein:

            [{]   First Cause of Action: Strict Liability – Manufacturing Defect
            [{]   Second Cause of Action: Strict Liability – Design Defect
            [{]   Third Cause of Action: Strict Liability – Defect Due to Inadequate Warnings or
                  Instructions
            [{]   Fourth Cause of Action: Negligence
            [{]   Fifth Cause of Action: Breach of Express Warranty
            [{]   Sixth Cause of Action: Breach of Implied Warranty
            [{]   Seventh Cause of Action: Negligent Misrepresentation
            [{]   Eighth Cause of Action: Fraud
            [{]   Ninth Cause of Action: Fraudulent Concealment
            [{]   Tenth Cause of Action: Punitive Damages

            □ Eleventh Cause of Action: Loss of Consortium
            □ Other: Plaintiff(s) may assert additional theories and/or Causes of Action. If
                  Plaintiff(s) includes additional theories and/or Causes of Action, the specific facts
                  and allegations supporting additional theories and/or Causes of Action must
                  be pleaded by Plaintiff in sufficient detail as required by the Federal Rules of
                  Civil Procedure. Attach additional pages to this Short Form Complaint, if
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   42. As to any Defendant named in this Short Form Complaint that is not named in the Amended
       Master Personal Injury Complaint, Plaintiff(s) asserts the following allegations, causes of
       action, and prayer for relief. Attach additional pages to this Short Form Complaint, if
       necessary.




      ___________________________________________________________________                           _

          WHEREFORE, Plaintiff(s) prays for relief and judgment against named Defendants and

   all such further relief that this Court deems equitable and just as set forth in the Amended Master

   Personal Injury Complaint and any additional relief to which Plaintiff(s) may be entitled.


                                           JURY DEMAND

          Plaintiff(s) hereby demands a trial by jury as to all claims in this action.

         May        12      2023                                       N. Kirkland Pope
   Date: _____________________________                        Signed: ____________________________
                                                         .             N. Kirkland Pope
                                                     Signature block: GA Bar No. 584255
                                                                       Courtney L. Mohammadi
                                                                       GA Bar No. 566460
                                                                       POPE McGLAMRY, P.C.
                                                                       3391 Peachtree Road, NE
                                                                       Suite 300
                                                                       Atlanta, GA 30326
                                                                       Ph: 404-523-7706
                                                                       Fax:404-524-1648
                                                                       Email: efile@pmkm.com
                                                                       kirkpope@pmkm.com
                                                                       courtneymohammadi@pmkm.com




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